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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 24-MJ-02896-REID

  UNITED STATES OF AMERICA,

        Plaintiff,

  v.

  DAVID KNEZEVICH,

        Defendant.
  _________________________________/

                                     DETENTION ORDER

        On May 10, 2024, the Court held a hearing pursuant to 18 U.S.C. § 3142(f) in

  the above-styled case to determine whether David Knezevich (“Defendant”) should be

  detained prior to trial. Having considered the factors enumerated in 18 U.S.C. §

  3142(g), the Court finds that no condition or combination of conditions will reasonably

  assure the appearance of Defendant as required. Therefore, it is hereby ORDERED

  that Defendant be detained prior to trial and until the conclusion thereof.

                     I.   Nature and Circumstances of the Offense

        The government charged Defendant by complaint with kidnapping in violation

  of 18 U.S.C. § 1201(a)(1).

                               II.    Weight of the Evidence

        The weight of the evidence against Defendant is sufficient to establish probable

  cause to support pretrial detention in this case. The government proffered the facts

  articulated in the complaint, [D.E. 3], which were affirmed and corroborated by the
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  testimony of Special Agent Alexandra Montilla of the FBI. Because the complaint

  speaks for itself, we need not recite its allegations in detail here. It suffices to say at

  this juncture that Defendant is accused of traveling from the United States to Spain

  to kidnap his estranged wife from her apartment in Madrid.               A great deal of

  circumstantial evidence supports the government’s complaint, including Defendant’s

  documented travel through extraordinary means from the United States to Turkey

  and then to Spain. Additionally, the defendant appears on video surveillance in Spain

  purchasing materials that may have been used in a kidnapping, all while the

  Defendant claims to have been elsewhere.          The government’s complaint is also

  supported by a strong motive that Defendant may have had to commit this offense

  given his bitter divorce with the victim.

                   III.   Defendant’s History and Characteristics

         The pertinent history and characteristics of Defendant further supports

  pretrial detention. According to the Pretrial Services Report, Defendant was born in

  Serbia, but he is a naturalized United States citizen. He has no criminal record, but

  he does have a history of frequent international travel. Defendant owns and operates

  a local business, which appears to be successful in light of the substantial assets noted

  in his Pretrial Services Report. For the reasons that the Court stated on the record

  at the hearing, we find based on a preponderance of the evidence that Defendant

  would pose a serious flight risk based on the nature of the charges, his strong foreign

  ties, his limited domestic ties, and his financial means. Accordingly, there are no




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  conditions or combinations of conditions that may reasonably assure Defendant’s

  presence at trial, making detention appropriate. See 18 U.S.C. § 3142(e).

                                   IV.    Conclusion

        Pursuant to these findings, the Court hereby directs that:

        a.     Defendant be detained without bond;

        b.     Defendant be committed to the custody of the Attorney General for

  confinement in a corrections facility separate, to the extent practicable, from persons

  awaiting or serving sentences or being held in custody pending appeal;

        c.     Defendant be afforded reasonable opportunity for private consultation

  with counsel; and

        d.     On order of a Court of the United States, or on request of an attorney for

  the government, the person in charge of the corrections facility in which Defendant

  is confined shall deliver Defendant to a United States Marshal for the purpose of an

  appearance in connection with any court proceeding.

        DONE AND ORDERED at Miami, Florida, this 3rd day of June, 2024.



                                                       /s/ Edwin G. Torres
                                                       EDWIN G. TORRES
                                                       United States Magistrate Judge


  Copies to:
  Counsel of Record
  Pretrial Services (Miami)




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